         Case 20-33529 Document 106 Filed in TXSB on 08/21/20 Page 1 of 3




                                                                                                                   ENTERED
                              UNITED STATES BANKRUPTCY COURT                                                       08/23/2020
                                SOUTHERN DISTRICT OF TEXAS
                                      HOUSTON DIVISION

                                        )
In re:                                  )                       Case No. 20-33529 (DRJ)
                                        )
                                     1
Calfrac Well Services Corp., et al.,    )                       Chapter 15
                                        )
       Debtors in a Foreign Proceeding. )                       (Jointly Administered)
____________________________________)

     ORDER AUTHORIZING CERTAIN CONFIDENTIAL INFORMATION RELATED
    TO THE OBJECTION OF WILKS BROTHERS, LLC AND ITS AFFILIATED FUNDS
      TO PETITION FOR RECOGNITION AND CHAPTER 15 RELIEF UNDER SEAL
                               (Docket No. 76)
        Upon the motion (the “Motion”) of Wilks Brothers, LLC and its Affiliated Funds

(“Wilks”) for entry of an order (this “Order”),(i) authorizing them to redact and file under seal

certain confidential information in connection with their objection to the Debtors’ Petition for

Recognition and Chapter 15 Relief; and this Court having jurisdiction over this matter pursuant

to 28 U.S.C. § 1334; and this Court having found that this is a core proceeding pursuant to 28

U.S.C. § 157(b)(2); and that this Court may enter a final order consistent with Article III of the

United States Constitution; and this Court having found that venue of this proceeding and the

Motion in this district is proper pursuant to 28 U.S.C. §§ 1408 and 1409; and this Court having

found that the relief requested in the Motion is in the best interests of the Debtors’ estates, their

creditors, and other parties in interest; and this Court having found that the Wilk’s notice of the

Motion and opportunity for a hearing on the Motion were appropriate and no other notice need


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   The Debtors in these chapter 11 cases, along with the last four digits of each debtor’s federal; tax identification
number, are: Bristow Group Inc. (9819), BHNA Holdings Inc. (8862), Bristow Alaska Inc. (8121), Bristow
Helicopters Inc. (8733), Bristow U.S. Leasing LLC (2451), Bristow U.S. LLC (2904), BriLog Leasing Ltd. (9764),
and Bristow Equipment Leasing Ltd. (9303). The corporate headquarters and the mailing address for the Debtors
listed above is 2103 City West Blvd., 4th Floor, Houston, Texas 77042.



113134674.v2
        Case 20-33529 Document 106 Filed in TXSB on 08/21/20 Page 2 of 3




be provided; and this Court having determined that the legal and factual bases set forth in the

Motion establish just cause for the relief granted herein; and upon all of the proceedings had

before this Court; and after due deliberation and sufficient cause appearing therefor, it is

HEREBY ORDERED THAT:


          1.    The Motion is granted as set forth herein.

          2.    Wilks is authorized to file a redacted and unredacted version of its objection

 under seal pursuant to section 107(b) of the Bankruptcy Code, Bankruptcy Rule 9018, and

 Bankruptcy Local Rules 9037-1 and 9013-1.

          3.    The confidential information shall remain confidential, shall remain under seal,

 and shall not be made available to anyone except Wilks is authorized to cause the unredacted

 version to be served on and made available, on a confidential basis, to: (a) the Court; (b) the

 U.S. Trustee; and (c) any other party as may be ordered by the Court.

          5.    Any party who receives the confidential information in accordance with this

 Order shall not disclose or otherwise disseminate such confidential information to any other

 person or entity, including in response to a request under the Freedom of Information Act.

          6.    This Order is without prejudice to the rights of any party in interest to seek to

 unseal and make public any portion of the material filed under seal.

          7.    Notwithstanding Bankruptcy Rule 6004(h), the terms and conditions of this

 Order are immediately effective and enforceable upon its entry.

          8.    Wilks are authorized to take all actions necessary to effectuate the relief granted

 in this Order in accordance with the Motion.




                                                 2
113134674.v2
        Case 20-33529 Document 106 Filed in TXSB on 08/21/20 Page 3 of 3




          9.    This Court retains exclusive jurisdiction with respect to all matters arising from

 or related to the implementation, interpretation, and enforcement of this Order.


 Dated: August _____, 2020
  Signed: August 21, 2020.

                                             ____________________________________
                                             DAVID R. JONES
                                     _______________________________
                                             UNITED
                                     The Honorable    STATES
                                                    David     BANKRUPTCY JUDGE
                                                          R. Jones
                                     United States Bankruptcy Judge




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113134674.v2
